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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 IN RE APPLICATION OF USA PURSUANT                     ML No. 21-ml-876
 TO 18 U.S.C. 3512 FOR 2703(d) ORDER FOR
 ONE PHONE NUMBER SERVICED BY
 SPRINT CORPORATION



                                            ORDER

       The United States has submitted an application pursuant to 18 U.S.C. §§ 2703(d) and

3512(a), and the Agreement comprising the instrument as contemplated by Article 3(2) of the

Agreement on Mutual Legal Assistance Between the United States of America and the European

Union signed at Washington on 25 June 2003, as to the application of the Treaty Between the

United States of America and the Kingdom of the Netherlands on Mutual Assistance in Criminal

Matters signed at the Hague on 12 June 1981, Neth.-U.S., Sept. 29, 2004, S. TREATY DOC.

NO. 109-13 (2006), requesting that the Court issue an Order requiring Sprint Corporation

(“PROVIDER”), an electronic communication service and/or a remote computing service

provider located in Overland Park, Kansas, to disclose the records and other information

described in Attachment A to this Order.

       The Court finds that the United States has offered specific and articulable facts showing

that there are reasonable grounds to believe that the records or other information sought are

relevant and material to an ongoing criminal investigation.
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       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. §§ 2703(d) and 3512(a), that

PROVIDER shall, within ten days of receipt of this Order, disclose to the United States the

records and other information described in Attachment A to this Order.




________________                                           __________________________
Date                                                       United States Magistrate Judge




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                                       ATTACHMENT A

I.     The Account

       The Order applies to certain records and information for any Sprint Corporation

(“PROVIDER”) account associated with the following identifier:

       +18144037087

and any preserved data and/or preservation numbers associated therewith.

II.    Records and other information to be disclosed

       A. Information about the customer or subscriber of the Account

       PROVIDER is required to disclose to the United States the following records and other

information, if available, for each account or identifier listed in Part I of this Attachment (the

“Account”), from the date the Account was created to the present, unless otherwise specified

below, constituting information about the customer or subscriber of the Account:

       1.   Names (including subscriber names, user names, and screen names);

       2.   Addresses (including mailing addresses, residential addresses, business addresses,
            and e-mail addresses);

       3.   Local and long distance telephone connection records (including records of text
            messages sent and received) from September 24, 2018 to and including September
            17, 2019;

       4.   Records of session times and durations from from September 24, 2018 to and
            including September 17, 2019, and the temporarily assigned network addresses (such
            as Internet Protocol (“IP”) addresses) associated with those sessions;

       5.   Length of service (including start date) and types of service utilized;

       6.   Telephone or instrument numbers (including MAC addresses);

       7.   Other subscriber numbers or identities (including the registration IP address),
            including any current or past accounts linked to the Account by telephone number,
            recovery or alternate e-mail address, IP address, or other unique device or user
            identifier; and
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8.   Means and source of payment for such service (including any credit card or bank
     account number) and billing records.




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